Case 1:12-cv-05540-JBW-RER Document 1 Filed 11/08/12 Page 1 of 11 PageID #: 1




      UNITED STATES DISTRICT COURT
      EASTERN DISTRICT OF NEW YORK
      ---------------------------------------------------------------x
      LOIS M. ROSENBLATT in her capacity as Public
      Administrator of Queens County as the
      Administrator for the Estate of BLANCA
      AZUCENA MONZON MALDONADO, a/k/a
      BLANCA AZUCENA MONZON, Deceased,
                                                                           COMPLAINT
                                           Plaintiffs,                     AND JURY DEMAND

              -against-

      UNITED STATES OF AMERICA and                                         Civil No.:
      ST. JOHN’S EPISCOPAL HOSPITAL

                                          Defendants.
      ---------------------------------------------------------------X

         Plaintiff, by his attorneys, GINARTE, O'DWYER, GONZALEZ, GALLARDO &

      WINOGRAD, LLP, as and for a complaint against the Defendants herein, alleges upon

      information and belief as follows:

                                                     PARTIES

              FIRST: At all times hereinafter mentioned, Plaintiff, LOIS M. ROSENBLATT,

      was in her capacity as Public Administrator of Queens County maintains an office at 88-

      11 Sutphin Boulevard, Room 61, Jamaica, New York 11435-3720, County of Queens.

              SECOND:          At    all    times    hereinafter     mentioned,   Plaintiff,   LOIS   M.

      ROSENBLATT, in her capacity as Public Administrator of the County of Queens, was

      duly appointed by the Surrogate of Queens County, New York, as Administrator of the

      Estate of BLANCA AZUCENA MONZON MALDONADO, a/k/a BLANCA

      AZUCENA MONZON deceased, and Letters of Administration were issued to said

      Public Administrator.




                                                               1
Case 1:12-cv-05540-JBW-RER Document 1 Filed 11/08/12 Page 2 of 11 PageID #: 2




                THIRD:     At all times relevant hereto Defendant, ST. JOHN’S EPISCOPAL

      HOSPITAL, was and still is a voluntary hospital.

                FOURTH: At all times relevant hereto Defendant, ST. JOHN’S EPISCOPAL

      HOSPITAL, was and still is a corporation duly organized and existing under the laws of

      the State of New York.

                FIFTH: At all times relevant hereto, the Joseph P. Addabbo Family Health

      Center was a federally funded entity, and accordingly has been determined a Public

      Health Service employer, and its employees who are physicians or certified health care

      practitioners considered government employees for purposes of the Federal Tort Claims

      Act.

                SIXTH:    At all times relevant hereto, MONZILA RAHMAN, M.D., was a

      physician duly licensed to practice medicine in the State of New York, employed by the

      Joseph P. Addabbo Family Health Center (hereinafter “JPA FHC”).



                                    JURISDICTION AND VENUE

                SEVENTH: Jurisdiction is proper pursuant to 28 U.S.C. § 1346(b)(1) as this civil

      claim arises against the United States for the personal injuries and death of the Plaintiff

      decedent by the negligent act or omission of employees of the Government while acting

      within the scope of their employment.

                EIGHTH: Jurisdiction is proper pursuant to 28 U.S.C § 1367 as the claims

      against Defendant ST. JOHN’S EPISCOPAL HOSPITAL and Defendant UNITED

      STATES OF AMERICA arise out of the same case or controversy making supplemental

      jurisdiction of the claims against defendant ST. JOHN’S EPISCOPAL HOSPITAL

      proper.
                                                       2
Case 1:12-cv-05540-JBW-RER Document 1 Filed 11/08/12 Page 3 of 11 PageID #: 3




              NINTH:          Jurisdiction is proper pursuant to the Federal Tort Claims Act, as a

      Notice of Claim has been timely filed with the Department of Health and Human

      Services on February 14, 2012, and more than six months have elapsed without a final

      disposition by that agency.

              TENTH:        Venue is proper pursuant to 28 U.S.C. § 1391 (b)(1) as the events

      giving rise to the claim occurred in this judicial district.

              ELEVENTH: Venue is proper pursuant to 28 U.S.C. § 1402 (b) as the events

      giving rise to the tort claim occurred in this judicial district.



                        FACTS COMMON TO ALL CAUSES OF ACTION

              TWELFTH: That at all times hereinafter mentioned the Defendant ST. JOHN’S

      EPISCOPAL HOSPITAL owned a hospital located at 327 Beach 19th Street, County of

      Queens, City and State of New York (hereinafter referred to “the subject premises.”)

              THIRTEENTH:         That at all times hereinafter mentioned the Defendant ST.

      JOHN’S EPISCOPAL HOSPITAL operated a hospital located at the subject premises.

              FOURTEENTH:           That at all times hereinafter mentioned the Defendant ST.

      JOHN’S EPISCOPAL HOSPITAL managed a hospital located at the subject premises.

              FIFTEENTH:        That at all times hereinafter mentioned, the Defendant ST.

      JOHN’S EPISCOPAL HOSPITAL maintained a hospital located at the subject premises.

              SIXTEENTH:            That at all times hereinafter mentioned, the Defendant ST.

      JOHN’S EPISCOPAL HOSPITAL controlled a hospital located at the subject premises.

              SEVENTEENTH: That at all times hereinafter mentioned, the Defendant ST.

      JOHN’S EPISCOPAL HOSPITAL owned the aforementioned hospital for the care,



                                                          3
Case 1:12-cv-05540-JBW-RER Document 1 Filed 11/08/12 Page 4 of 11 PageID #: 4




      treatment and healing of the sick, disabled and injured, pregnant women and others in

      need of medical care and treatment.

             EIGHTEENTH:        That at all times hereinafter mentioned, the Defendant ST.

      JOHN’S EPISCOPAL HOSPITAL operated the aforementioned hospital for the care,

      treatment and healing of the sick, disabled and injured, pregnant women and others in

      need of medical care and treatment.

             NINETEENTH:        That all times hereinafter mentioned, the Defendant ST.

      JOHN’S EPISCOPAL HOSPITAL managed the aforementioned hospital for the care,

      treatment and healing of the sick, disabled, injured, pregnant women and others in need

      of medical care and treatment.

             TWENTIETH: That all times hereinafter mentioned, the Defendant ST. JOHN’S

      EPISCOPAL HOSPITAL maintained the aforementioned hospital for the care, treatment

      and healing of the sick, disabled, injured, pregnant women and others in need of medical

      care and treatment.

             TWENTY-FIRST: That all times hereinafter mentioned, the Defendant ST.

      JOHN’S EPISCOPAL HOSPITAL controlled the aforementioned hospital for the care,

      treatment and healing of the sick, disabled, injured, pregnant women and others in need

      of medical care and treatment.

             TWENTY-SECOND: That at all times hereinafter mentioned, the Defendant ST.

      JOHN’S EPISCOPAL HOSPITAL held itself out to the public as furnishing

      accommodations where members of the public, including plaintiff’s decedent herein,

      could receive medical care and treatment.

             TWENTY-THIRD: That at all times hereinafter mentioned the Defendant ST.

      JOHN’S EPISCOPAL HOSPITAL provided personnel, including doctors, nurses,
                                                    4
Case 1:12-cv-05540-JBW-RER Document 1 Filed 11/08/12 Page 5 of 11 PageID #: 5




      laboratory, technicians, anesthesiologists, assistants, attendants and others, for the care

      and treatment of patients of said hospital and those individuals to whom its facilities were

      made available, including the plaintiff’s decedent herein.

             TWENTY-FOURTH:           Upon information and belief that said Defendant ST.

      JOHN’S EPISCOPAL HOSPITAL was duly accredited by the Joint Commission on

      Accreditation of Hospitals and said Defendant’s manuals, rules, regulations, practices,

      procedures, techniques and functions were required to be in accordance with the

      standards, terms and conditions laid down and promulgated by said Joint Commission on

      Accreditation of Hospitals.

             TWENTY-FIFTH:           That at all times hereinafter mentioned, MONZILA

      RAHMAN, M.D. was a physician with offices at 6200 Beach Channel Drive, County of

      Queens, City and State of New York.

             TWENTY-SIXTH: That at all times hereinafter mentioned the offices at 6200

      Beach Channel Drive, County of Queens, City and State of New York was a federally

      funded healthcare entity known as Joseph P. Addabbo Family Health Center.

             TWENTY-SEVENTH:            That at all times hereinafter mentioned, MONZILA

      RAHMAN, M.D. was a physician duly licensed to practice medicine in the State of New

      York

             TWENTY-EIGHTH:           That at all times hereinafter mentioned, MONZILA

      RAHMAN, M.D. was employed by the Joseph P. Addabbo Family Health Center.

             TWENTY-NINTH:           That at all times hereinafter mentioned, MONZILA

      RAHMAN, M.D., held himself/herself out to the public as a competent and skillful

      physician and a specialist in the field of Obstetrics and Gynecology.



                                                       5
Case 1:12-cv-05540-JBW-RER Document 1 Filed 11/08/12 Page 6 of 11 PageID #: 6




             THIRTIETH: That at all times hereinafter mentioned, MONZILA RAHMAN,

      M.D. maintained an office for said practice at 6200 Beach Channel Drive, County of

      Queens, City and State of New York, wherein he/she rendered care, examinations,

      treatment, attention and testing to the general public including the Plaintiff Decedent

      BLANCA AZUCENA MONZON MALDONADO, a/k/a BLANCA AZUCENA

      MONZON.

             THIRTY-FIRST:         That at all times hereinafter mentioned, MONZILA

      RAHMAN, M.D. did administer treatment to Plaintiff’s Decedent, BLANCA

      AZUCENA MONZON MALDONADO, a/k/a BLANCA AZUCENA MONZON.

             THIRTY-SECOND: That during the time the Plaintiff’s Decedent was under the

      care and treatment of MONZILA RAHMAN, M.D., he/she did perform various

      diagnostic tests and procedures and did render care, treatment and assistance to Plaintiff’s

      decedent.

             THIRTY-THIRD: That during the time the Plaintiff’s Decedent was under the

      care and treatment of MONZILA RAHMAN, M.D. as aforesaid, the Plaintiff Decedent

      was caused to suffer severe, serious and permanent personal injuries.

             THIRTY-FOURTH:           That at all times hereinafter mentioned, MONZILA

      RAHMAN, M.D. was a physician affiliated with Defendant ST. JOHN’S EPISCOPAL

      HOSPITAL.

             THIRTY-FIFTH:          That at all times hereinafter mentioned, MONZILA

      RAHMAN, M.D. had privileges in said hospital.

             THIRTY-SIXTH:          That at all times hereinafter mentioned, MONZILA

      RAHMAN, M.D. performed medical services upon patients of the Defendant ST.

      JOHN’S EPISCOPAL HOSPITAL.
                                                       6
Case 1:12-cv-05540-JBW-RER Document 1 Filed 11/08/12 Page 7 of 11 PageID #: 7




             THIRTY-SEVENTH:          That at all times hereinafter mentioned, MONZILA

      RAHMAN, M.D. and other physicians and certified practitioners employed by the Joseph

      P. Addabbo Family Health Center did admit his/her own patients to Defendant ST.

      JOHN’S EPISCOPAL HOSPITAL and rendered medical care and treatment to their own

      patients at said hospital with the permission or consent, express or implied, of Defendant

      ST. JOHN’S EPISCOPAL HOSPITAL.

             THIRTY-EIGHTH: That at all times hereinafter mentioned, from approximately

      December 22, 2008 through and including approximately December 23, 2008, Plaintiff’s

      Decedent BLANCA MONZAN, was under the care of the Defendant ST. JOHN’S

      EPISCOPAL HOSPITAL.

             THIRTY-NINTH: That at all times hereinafter mentioned, from approximately

      December 22, 2008 through and including approximately December 23, 2008 and

      throughout that period, the Plaintiff’s Decedent was a patient of the Defendant, ST.

      JOHN’S EPISCOPAL HOSPITAL, its agents, servants and employees and that

      throughout this period the Defendant undertook to diagnose, treat and care for the

      Plaintiff’s Decedent and to use due, reasonable and proper skill and care as prevalent

      among members of the same profession in the community.

             FORTIETH:       That at all times hereinafter mentioned, from approximately

      December 22, 2008 through and including approximately December 23, 2008 Plaintiff’s

      Decedent BLANCA MONZAN was under the care of MONZILA RAHMAN, M.D., and

      other physicians or certified health care practitioners employed by JPA FHC.

             FORTY-FIRST: That at all times hereinafter mentioned, from approximately

      December 22, 2008 through and including approximately December 23, 2008 and

      throughout that period, the Plaintiff’s Decedent was a patient of MONZILA RAHMAN,
                                                     7
Case 1:12-cv-05540-JBW-RER Document 1 Filed 11/08/12 Page 8 of 11 PageID #: 8




      M.D., and other physicians or certified health care practitioners employed by JPA FHC,

      and that throughout this period the Defendant undertook to diagnose, treat and care for

      the Plaintiff’s Decedent and to use due, reasonable and proper skill and care as prevalent

      among members of the same profession in the community.



                                  FIRST CAUSE OF ACTION
                            AGAINST UNITED STATES OF AMERICA
                            AND ST. JOHN’S EPISCOPAL HOSPITAL

              FORTY-SECOND: Plaintiff repeats and realleges the allegations contained in

      paragraphs of the complaint numbered FIRST through FORTY-FIRST as if more fully

      set forth at length herein.

              FORTY-THIRD: That the Plaitiff’s Decedent was so negligently, recklessly and

      carelessly treating by the Defendants, their agents, servants and/or employees, so as to

      constitute   the   aforesaid   treatment   and    recklessness,     carelessness,   negligence,

      misfeasance, malfeasance and malpractice resulting in the aggravation and worsening of

      the condition from which Plaintiff’s Decedent was suffering ultimately resulting in the

      death of the Plaintiff’s Decedent.

              FORTY-FOURTH: That the injuries sustained by the Plaintiff’s Decedent and

      the suffering of the said Plaintiff’s Decedent was due solely and wholly to the

      recklessness, carelessness, negligence, misfeasance, malfeasance and malpractice of the

      Defendants, their agents, servants and/or employees, without any negligence on the part

      of the Plaintiff’s Decedent or the plaintiff contributing hereto.

              FORTY-FIFTH: That the Plaintiff’s Decedent was so negligently, recklessly and

      carelessly treated by all Defendants, their agents, servant and/or employees so as to

      constitute he aforementioned treatment as negligence, carelessness, recklessness,
                                                        8
Case 1:12-cv-05540-JBW-RER Document 1 Filed 11/08/12 Page 9 of 11 PageID #: 9




      malpractice, malfeasance and misfeasance consisting of, among other things, a failure to

      afford treatment in accordance with good and proper medical practice, in departing and

      deviating from accepted medical standards in the State of New York and in failing to

      follow qualified members of the profession practicing the specialties the standards of

      medical care and skill of the average practice by all Defendants, their agents, servants

      and/or employees, and all Defendants, their agents, servants and/or employees were in

      other ways careless, reckless, negligent and guilty of malpractice, all of which resulted in

      injury, damage and ultimately to the demise of the Plaintiff’s Decedent BLANCA

      MONZAN.

             FORTY-SIXTH:         That solely by reason of the recklessness, carelessness,

      negligence, misfeasance, malfeasance and malpractice of the Defendants, their agents,

      servants and/or employees, as aforesaid, during all of the time that said Plaintiff’s

      Decedent was under their medical care and attention, that said Plaintiff’s Decedent

      became and was rendered sick, sore, lame and disabled; received severe and serious

      injuries to her head, body and limbs; experienced great pain and suffering and Plaintiff’s

      Decedent suffered from said injuries up to the date of her death; and all of the

      aforementioned injuries ultimately resulted in the untimely demise of the Plaintiff’s

      Decedent.

             FORTY-SEVENTH:          That solely by reason of the foregoing, the Plaintiff’s

      Decedent has sustained money damages in a sum which exceeds the jurisdictional limits

      of all lower courts which would otherwise have jurisdiction.




                                                       9
Case 1:12-cv-05540-JBW-RER Document 1 Filed 11/08/12 Page 10 of 11 PageID #: 10




                                  SECOND CAUSE OF ACTION
                             AGAINST UNITED STATES OF AMERICA
                             AND ST. JOHN’S EPISCOPAL HOSPITAL


               FORTY-EIGTH:           Plaintiff repeats and realleges the allegations contained in

       paragraphs of the complaint numbered FIRST through FORTY-SEVEN as if more fully

       set forth at length herein.

               FORTY-NINTH: That the Defendants, their agents, servants and/or employees

       failed to disclose to the Plaintiff’s Decedent such alternatives to the treatment undertaken

       and the reasonable, foreseeable risk and benefits involved as a reasonable medical

       practitioner under similar circumstances would have disclosed, in a manner permitting

       the Plaintiff’s Decedent’s to make knowledgeable evaluation; in failing to advise the

       Plaintiff’s Decedent of available alternatives; in failing to advise the Plaintiff’s Decedent

       of Plaintiff’s Decedent true condition; and in other ways failing to procure informed

       consent.



                                  THIRD CAUSE OF ACTION
                             AGAINST UNITED STATES OF AMERICA
                             AND ST. JOHN’S EPISCOPAL HOSPITAL


               FIFTIETH:             Plaintiff repeats and realleges the allegations contained in

       paragraphs of the complaint numbered FIRST through FORTY-NINE as if more fully set

       forth at length herein.

               FIFTY-FIRST: That solely by reason of the negligent, recklessness, carelessness,

       malpractice, misfeasance and malfeasance of the Defendants, their agents, servants

       and/or employees as aforesaid, the Plaintiff’s Decedent became sick, sore and disabled,



                                                         10
Case 1:12-cv-05540-JBW-RER Document 1 Filed 11/08/12 Page 11 of 11 PageID #: 11




       received severe, serious and permanent injuries to diverse parts of her person, which

       injuries ultimately resulted in her demise.

              FIFTY-SECOND: That Plaintiff’s Decedent left her surviving distributes, who

       sustained pecuniary loss by reason of the wrongful death of the Plaintiff’s Decedent and

       the Decedent’s Estate herein did incur hospital, medical, funeral, burial and other

       expenses.

              WHEREFORE, Plaintiff demands judgment against Defendants UNITED

       STATES OF AMERICA and ST. JOHN’S EPISCOPAL HOSPITAL, for damages, in the

       amount of Ten Million Dollars ($10,000,000.00), interest and costs of suit on the First,

       Second and Third Counts of this Complaint, and for such other and further relief as this

       Court may deem just and proper.



       Dated: November 8, 2012
              Brooklyn, New York                     ___/s/ Lewis Rosenberg, Esq. ______
                                                     LEWIS ROSENBERG, ESQ. (LR5791)
                                                     GINARTE, O'DWYER, GONZALEZ,
                                                     GALLARDO & WINOGRAD, LLP
                                                     Attorneys for Plaintiffs
                                                     225 Broadway, 13th Floor
                                                     New York, New York 10007
                                                     (212) 601-9700


                                            JURY DEMAND

              Plaintiff demands a trial by jury of all issues so triable.

       Dated: November 8, 2012                       ___/s/ Lewis Rosenberg, Esq. ______________
                                                     LEWIS ROSENBERG, ESQ. (LR5791)
                                                     GINARTE, O'DWYER, GONZALEZ,
                                                     GALLARDO & WINOGRAD, LLP
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                                                          11
